July 12, 2006


Mr. Mike A. Hatchell
Locke Liddell &amp; Sapp, LLP
100 Congress Ave., Suite 300
Austin, TX 78701-4042
Ms. Audrey Mullert Vicknair
Law Office of Audrey Mullert Vicknair
802 N. Carancahua, Suite 1350
Corpus Christi, TX 78470

RE:   Case Number:  05-0134
      Court of Appeals Number:  13-02-00094-CV
      Trial Court Number:  01-2-56,086D

Style:      SOUTHWESTERN BELL TELEPHONE COMPANY
      v.
      COASTAL MART, INC. AND COASTAL MARKETS, LTD., D/B/A MAVERICK MARKETS

Dear Counsel:

      Today the  Supreme  Court  of  Texas  granted  the  Joint  Motion  for
Extension of Abatement and issued the enclosed abatement order in the above-
referenced-case.
                       Sincerely,
                       [pic]


                       Andrew Weber, Clerk


                       by Claudia Jenks, Chief Deputy Clerk


Enclosure
|cc:|Ms. Cathy      |
|   |Wilborn        |
|   |Ms. Cathy      |
|   |Stuart         |


